      Case: 1:20-cv-01543 Document #: 41 Filed: 06/29/20 Page 1 of 3 PageID #:3985




                          IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION


 CAMELBAK PRODUCTS, LLC,

          Plaintiff,                                             Civil Action No.: 1:20-cv-01543

 v.                                                              Judge John J. Tharp, Jr.

 THE PARTNERSHIPS AND UNINCORPORATED                             Magistrate Judge Sheila M. Finnegan
 ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

          Defendants.


                                    NOTICE OF DISMISSAL

         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                 NO.                                    DEFENDANT
                 101                                    9enjoyshopping
                 153                                   happyeasybuy03
                  30                                     nuflower2009
                 111                                     bestoffer365
                 155                                   healthbeauty360
                 199                                   wholesale-charm
                 100                                     8businessday
                 180                                     perfectyou05
                 191                                      sweetsale07
                 156                                     heavenstores
                  34                                     wellamazing
                 193                                      undermalls
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DATED: June 28, 2020                 Respectfully submitted,

                                            /s/ Keith A. Vogt
                                            Keith A. Vogt (Bar No. 6207971)
                                            Keith Vogt, Ltd.
                                            111 West Jackson Boulevard, Suite 1700
                                            Chicago, Illinois 60604
                                            Telephone: 312-675-6079
                                            E-mail: keith@vogtip.com

                                            ATTORNEY FOR PLAINTIFF
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                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on June 28, 2020 with the Clerk of the Court using the CM/ECF
system, which will automatically send an email notification of such filing to all registered attorneys
of record.

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt
